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 8

 9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13

14                                                   No. C09-2838 EJD (JSC)

15    HAIPING SU,                                    MEMORANDUM OF POINTS AND
             Plaintiff,                              AUTHORITIES IN SUPPORT OF
16                                                   MOTION FOR FEES AND EXPENSES
      v.                                             IN PROVING MATTERS THAT
17
                                                     SHOULD HAVE BEEN ADMITTED
      UNITED STATES OF AMERICA,
18                                                   (Fed. R. Civ. P. 37(c)(2))
             Defendant.
19                                                   Date:  March 12, 2015
                                                     Time: 9:00 a.m.
20                                                   Ctrm: 4
21                                                   Judge: The Hon. Edward J. Davila

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     MPA ISO MOTION FOR FEES AND EXPENSES IN PROVING MATTERS THAT SHOULD HAVE BEEN ADMITTED;
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     MPA ISO MOTION FOR FEES AND EXPENSES IN PROVING MATTERS THAT SHOULD HAVE BEEN ADMITTED;
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 1                                            INTRODUCTION
 2          Plaintiff, Dr. Haiping Su, moves this Court for an order requiring defendant to pay the
 3   sum of $1,314,545.11, which represents the reasonable expenses, including attorney’s fees,
 4   incurred by plaintiff in proving that:
 5         NASA security provided adverse, unfavorable, and derogatory information to non-federal
 6          employees, namely, plaintiff’s UC Santa Cruz friends and co-workers. (See RFA 8 and
 7          Docket 266, ¶¶ 45, 50-52.)
 8         NASA security’s statement implying plaintiff allegedly accepted or received money from
 9          a foreign government and denied accepting or receiving such money contained personal
10          information of an extremely private nature. (See RFA 16 and Docket 266, ¶¶ 50, 52, 68.)
11         The statement that plaintiff accepted money from a foreign government, and lied about it,
12          was particularly unnecessary in light of other disclosures. NASA security disclosed to
13          UC Santa Cruz employees, and individuals within NASA’s Earth Sciences Division, that
14          Su was considered a “security risk,” which is personal information of an extremely
15          private nature. (See RFA 9-10, 17 and Docket 266, ¶ 50, 67.) NASA security also
16          disclosed plaintiff’s alleged performance on a polygraph test to his superiors. (See RFA
17          27 and Docket 266, ¶ 32.)
18          The United States of America and its agency, the National Aeronautics and Space
19   Administration (“NASA”), were served with Requests for Admission requesting that the USA
20   and NASA admit that NASA security provided adverse, unfavorable, and derogatory information
21   about plaintiff to non-federal employees (RFA 8); NASA disclosed to UCSC employees and
22   ESD personnel that Su was considered a “security risk” (RFA 9-10); the statement that plaintiff
23   was a security risk was extremely private in nature (RFA 17); the statement that plaintiff
24   accepted or received money from a foreign government and then denied it was extremely private
25   in nature (RFA 16); and NASA disclosed to plaintiff’s superiors that he allegedly failed a
26   question on his polygraph test (RFA 27). Defendants unreasonably refused to admit these
27   requests.
28          Plaintiff proved these facts at trial, and Rule 37(c)(2) of the Federal Rules of Civil
                                                      1
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 1   Procedure requires the Court to award plaintiff the expenses and fees incurred in proving this
 2   fact.
 3                                        STATEMENT OF FACTS
 4           Plaintiff requests the Court take judicial notice of the following facts pursuant to Federal
 5   Rule of Evidence 201:
 6           1.       The National Aeronautics and Space Administration (“NASA”) is a government
 7   agency of the United States of America.
 8           2.       Defendants NASA and the United States of America were represented in this
 9   matter by the Department of Justice, Civil Division.
10           3.       At the trial of this case, the Court found that:
11                   On July 3, 2008, NASA Security Chief Robert Dolci convened a meeting that
12                    included Su’s UARC coworkers and NASA colleagues in the Earth Sciences
13                    Division. (Docket 266, ¶ 45.)
14                   At this meeting, “Dolci informed the attendees that Su was debarred because he
15                    was a security risk.” (Docket 266, ¶ 50.)
16                   “Dolci also said that Su’s debarment was the result of something he did in a prior
17                    job.” (Docket 266, ¶ 51.)
18                   “Dolci told the assembled staff that one way to avoid Su’s fate was not to take
19                    money from a foreign government and then deny it.” (Docket 266, ¶ 52.)
20                   “After the July 3 meeting, it was generally understood among the UARC staff that
21                    Su was debarred because he had received money from a foreign government and
22                    concealed it.” (Docket 266, ¶ 52.)
23                   “[T]he statement [regarding taking money and denying it] was intended to
24                    suggest, and did suggest, that [plaintiff] had taken money from a foreign
25                    government.” (Docket 266, ¶ 52.)
26                   “[A]s described at trial, the statement was delivered rather flippantly. Dolci already

27                    had informed the Earth Sciences Division in general terms why [plaintiff] had been

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 1                   debarred and allayed their concerns that the debarment might have arisen from work

 2                   they themselves were still performing.” (Docket 266, ¶ 69.)

 3          4.       At the trial of this case, the Court found that Dolci informed the Earth Sciences
 4   Division in general terms why plaintiff had been debarred and allayed their concerns that the
 5   debarment might have arisen from work they themselves were still performing. Specifically:
 6                  Dolci told plaintiff’s coworker Larry Hogle prior to the debarment, and coworker
 7                   Bruce Coffland after the debarment, that plaintiff had a problem with one
 8                    particular polygraph question. (Docket 266, ¶ 32.)
 9                  “Dolci informed the attendees [of the July 3, 2008, presentation] that Su was
10                   debarred because he was a security risk.” (Docket 266, ¶ 50.)
11                  “Dolci also said that [plaintiff’s] debarment was the result of something he did in
12                   a prior job.” (Docket 266, ¶ 51.)
13          5.       The Court further found that:
14                  “Su had a legally protectable interest in the investigatory determination that he
15                   was a security risk.” (Docket 266, ¶ 67.)
16                  “Su had a reasonable expectation that the security risk determination resulting
17                   from the joint FBI/NASA investigation would not be broadcast widely.” (Docket
18                   266, ¶ 67.)
19                  “[Su] had no reason to expect that [security risk] determination to be announced
20                   at a large staff meeting containing as many as fifty of his colleagues.” (Docket
21                   266, ¶ 67.)
22                  “Dolci’s announcement [that Su was a security risk] constituted a serious invasion
23                   of Su’s privacy. (Docket 266, ¶ 67.)
24                  “Su had a legally protectable interest in the investigatory determination that he
25                   had done something during his prior employment to render him a security risk.”
26                   (Docket 266, ¶ 68.)
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 1                  “Su had a reasonable expectation that the investigatory findings would not be
 2                   widely publicized, and Dolci’s statement at the July 3 meeting constituted a
 3                   serious invasion of his privacy rights.” (Docket 266, ¶ 68.)
 4                  “Dolci’s disclosure of that investigatory finding [that plaintiff had taken money from
 5                   a foreign government] constituted a serious violation of Su’s privacy rights.” (Docket

 6                   266, ¶ 69.)
 7                  The allegation that plaintiff took money from a foreign government and denied it “is

 8                   not covered by the common interest or competing interest privilege.” (Docket 266, ¶

 9                   69.)
10                  The allegation plaintiff took money from a foreng government and denied it “was
11                   not a statement that would ‘preserve employee morale and job efficiency.’ [citation]”

12                   (Docket 266, ¶ 69.)
13                  “There was no legitimate purpose served by revealing that Su had taken, or at least

14                   was suspected of taking, money from a foreign government.” (Docket 266, ¶ 69.)

15   The Supporting Declaration of Tyler Atkinson establishes that:
16          6.       Plaintiff served a request for admission on NASA that read:
17          REQUEST FOR ADMISSION NUMBER 8: Admit that NASA provided adverse
18          information about Dr. Haiping Su to individuals not employed by the federal government.
            “Adverse information” shall mean adverse information as it is used in NASA Procedural
19          Requirements 1600, section 4.11, and includes adverse, unfavorable, or derogatory
            information.
20
            7.       On March 24, 2010, NASA answered request for admission number 8 by stating:
21
            RESPONSE: Denied.
22
            8.       Plaintiff served a request for admission on the USA and NASA that read:
23
            REQUEST FOR ADMISSION NO. 9: Admit that NASA employees or personnel,
24
            including but not limited to Robert Dolci, Kenneth Silverman, Reginald Waddell, and/or
25          Steve Hipskind, disclosed to employees of the University of California at Santa Cruz who
            were were [sic] working at the NASA Ames facility under the University Affiliated
26          Research Center (hereafter, “UARC”) contract with NASA (referenced in paragraph 39
            of Defendants’ Answer filed July 26, 2010), that Dr. Haiping Su was or is considered to
27          be a security risk.
28          9.       On March 22, 2011, NASA answered request for admission number 9 by stating:
                                                 4
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 1
           RESPONSE: Defendants object to this Request as compound, and to the terms
 2         “personnel,” and “disclosed” as vague. Defendants further object to the Request as
 3         calling for a legal conclusion. Subject to and notwithstanding defendants’ objections,
           including the General Objections, deny except to admit that on or about the morning of
 4         June 24, 2008, Robert Dolci advised Larry Hogle, at the time a University of California at
           Santa Cruz employee working as the associate director of the UARC contract, that later
 5         that day, Dr. Su would be issued a debarment letter, and would be removed from the
           installation, because it was NASA’s belief that Su “represented a security risk.” Dolci
 6         Dep. 174:14-19; 176:19-177:2. Admit that later that day, Kenneth Silverman, the Center
 7         Chief of Security at NASA Ames, hand-delivered a copy of the letter, which stated that
           Dr. Su was no longer permitted access to NASA Ames “based upon a determination that
 8         your continued presence on NASA property constitutes a security risk” to Mr. Hogle and
           to Dr. Su. Silverman Dep. 97:4-12; 119:8-9. Mr. Silverman “perhaps mailed a copy of the
 9         letter” to William Berry, who at the time was the Executive Director of the UARC
           contract. Id. at 96:16-21.
10
           10.    Plaintiff served a request for admission on the USA and NASA that read:
11

12         REQUEST FOR ADMISSION NO. 10: Admit that NASA employees or personnel,
           including but not limited to Robert Dolci, Kenneth Silverman, Reginald Waddell, and/or
13         Steve Hipskind, disclosed to employees of NASA’s Earth Sciences Division located at
           NASA Ames, and/or to other persons or contract employees who were working with
14         members of NASA’s Earth Sciences Division located at NASA Ames (other than or in
           addition to University of California at Santa Cruz employees working at the NASA Ames
15
           facility under the UARC contract), that Dr. Haiping Su was or is considered to be a
16         security risk.

17         11.    On March 22, 2011, NASA answered request for admission number 10 by stating:

18         RESPONSE: Defendants object to this Request as compound, and further object to the
           terms “personnel,” “working with,” “disclosed,” and “working with members of NASA’s
19         Earth Sciences Division located at NASA Ames” as vague. Defendants further object to
           this Request as calling for a legal conclusion, and as irrelevant to the claims in this case.
20
           Subject to and notwithstanding defendants’ objections, including the General Objections,
21         deny.

22         12.    Plaintiff served a request for admission on the USA and NASA that read:

23         REQUEST FOR ADMISSION NO. 16: Admit that a statement implying that Dr.
           Haiping Su allegedly accepted or received money from a foreign government and denied
24         accepting or receiving such money contains personal information of an extremely private
25         nature.
           13.    On March 22, 2011, NASA answered request for admission number 16 by stating:
26

27         RESPONSE: Defendants object to this Request as compound, and as calling for a legal
           conclusion. Defendants further object to this Request insofar as it assumes that NASA or
28         any of its employees made a statement implying that Dr. Haiping Su allegedly accepted
                                                   5
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 1          or received money from a foreign government and denied accepting or receiving such
            money. Deny that any such statement was made. Defendants further object to the request
 2          as hypothetical, to the extent it asks whether any statement “implying that Dr. Haiping Su
 3          allegedly accepted or received money from a foreign government and denied accepting or
            receiving such money” may contain personal information of an extremely private nature.
 4          Subject to and notwithstanding defendants’ objections, including the General Objections,
            deny.
 5
            14.     Plaintiff served a request for admission on the USA and NASA that read:
 6

 7          REQEUST FOR ADMISSION NO. 17: Admit that a statement characterizing Dr.
            Haiping Su as a security risk contains personal information of an extremely private
 8          nature.

 9          15.     On March 22, 2011, NASA answered request for admission number 17 by stating:
10
            RESPONSE: Defendants object to the term “characterizing” as vague. Defendants
11          further object to the request as calling for a legal conclusion. Defendants further object to
            the Request insofar as it assumes that NASA or any of its employees made a statement
12          characterizing Dr. Su as a security risk. Defendants further object to the request as
            hypothetical, to the extent it asks whether any statement that somehow characterizes Dr.
13          Su as a security risk must contain personal information of an extremely private nature.
            Subject to and notwithstanding defendants’ objections, including the General Objections,
14
            deny.
15          16.     Plaintiff served a request for admission on the USA and NASA that read:
16
            REQUEST FOR ADMISSION NO. 27: Admit that Robert Dolci advised employees
17          and staff working for the University of California at Santa Cruz under the UARC
            contract, including but not limited to Larry Hogle, Jeff Myers, and/or Bruce Coffland,
18          that Dr. Su had trouble answering one question on the polygraph examination, which
            took place on or about March 21, 2008 (according to the FBI letter dated May 22, 2008;
19
            see AR 0084-0086).
20          17.     On March 22, 2011, NASA answered request for admission number 27 by stating:
21
            RESPONSE: Defendants object to this Request as compound, and to the term “staff” as
22          vague. Subject to and notwithstanding defendants’ objections, including the General
            Objections, deny. Dolci Dep. 150:4-14.
23
            18.     The total number of attorney hours devoted to proving these facts before and at
24
     trial, following defendant’s denial, is shown by the printout attached as Exhibit E to the
25
     Supporting Declaration of Tyler Atkinson and amounts to 2874.7 hours of work. Counsel’s
26
     regular hourly fee and a reasonable hourly fee for these services ranged between $300 and $750
27
     per hour, commensurate with the attorneys respective experience, for a total amount of attorney’s
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 1   fees of $1,227,228.00. In addition, plaintiff has reasonably incurred $87,317.11 in costs in
 2   proving the above referenced facts before and at trial.
 3                                         LEGAL ARGUMENT
 4         I. FRCP RULE 37(C)(2) AUTHORIZES A MOTION FOR FEES AND EXPENSES
 5            TO BE FILED AFTER TRIAL.
              A Rule 37(c)(2) motion is a motion brought after facts have been adjudicated. “If a party
 6
     fails to admit what is requested under Rule 36 and if the requesting party later proves a document
 7
     to be genuine or the matter true, the requesting party may move that the party who failed to
 8
     admit pay the reasonable expenses, including attorney’s fees, incurred in making that proof.”1
 9
           II. AN AWARD OF EXPENSES AND FEES IS MANDATORY.
10
              Rule 37(c)(2) provides that a court “must” award the party its expenses and fees. FRCP
11
     Rule 37(c)(2); see Moore’s Federal Practice § 37.74[1] (Matthew Bender, 3d ed.) (fee award is
12
     mandatory in nature). As observed by the Ninth Circuit:
13

14            The Rule mandates an award of expenses unless an exception applies.
              Enforcement encourages attorneys and parties to identify undisputed issues early
15            to avoid unnecessary costs. Failure to identify those issues wastes the resources
              of parties and courts.
16

17            The Federal Rules are intended "to secure the just, speedy, and inexpensive
              determination of every action." Fed. R. Civ. P. 1. Parties may not view requests
18            for admission as a mere procedural exercise requiring minimally acceptable
              conduct. They should focus on the goal of the Rules, full and efficient discovery,
19            not evasion and word play.
20   Marchand v. Mercy Medical Ctr., 22 F.3d 933, 936 (9th Cir. 1994); see Central Kan. Credit
21   Union v. Mutual Guar. Corp., 1995 U.S. Dist. Lexis 19717, *4 (D. Kan. 1995) (citing Marchand
22   and explaining: “In short, unless an exception applies, the court must award the requesting party
23   its reasonable expenses later incurred in proving the truth of a matter which the other party failed
24   to admit.”).
25

26   1
      Defendant has filed a brief suggesting that a Rule 37(c)(2) sanctions motion was previously
27   adjudicated. This is not possible. Defendant bases its position on a statement contained in a
     Joint Final Pretrial Conference Statement. Under this Court’s Standing Order, parties are
28   supposed to include information about “anticipated motions.” Plaintiff could not have filed a
     Rule 37(c)(2) motion before receiving the court’s factual findings on September 25, 2014.
                                                     7
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 1      III. NO EXCEPTION APPLIES IN THIS CASE.
 2          A court may refuse to award the expenses and fees involved in denying the matter only if
 3   it finds one of four exceptions applicable, none of which relate to the present matter.
 4      A. The Subject Requests Were Not “Held Objectionable.”
 5          Expenses are not awarded where the subject request “was held objectionable under Rule
 6   36(a).” However, this exception does not apply in the present matter because the Government’s
 7   responses contain only pro forma objections, there was no pre-trial motion on the sufficiency of
 8   any such objection, and the Court did not make a pre-trial ruling upholding any such objection.
 9   See Moore’s Federal Practice § 37.74[2], citing Fed. Rule Civ. Proc., Rule 37(c), advisory
10   committee note of 1970.
11      B. The Admissions Sought Were of “Substantial Importance.”
12          While expenses and fees may be denied if an admission sought “was of no substantial
13   importance,” here, the admissions sought dealt with central issues in the action. The
14   Government denied that any adverse information had been provided to plaintiff’s non-federal
15   coworkers. The government further denied that the accusation regarding money from a foreign
16   government would have been an invasion of his privacy. See Marchand v. Mercy Medical Ctr.,
17   22 F.3d 933, 937, fn. 4 (9th Cir. 1994) (requests for admission regarding questions of mixed law
18   and fact are recoverable under Section 37(c)(2)).
19          In issuing its ruling, the Court expressly found (1) NASA security told plaintiff’s UC
20   Santa Cruz co-workers that he took money from a foreign government and denied it; (2) this
21   allegation was a serious invasion of plaintiff’s privacy; and (3) the statement was particularly
22   unnecessary because other disclosures had been made about plaintiff, including his alleged
23   performance on his polygraph and his alleged status as a “security risk.” The Court ruled in
24   favor of plaintiff for these reasons.
25          The Court also found that Dolci told Su’s UARC co-workers and his colleagues in the
26   Earth Sciences Division that (4) Su was debarred because he was a security risk; and (5) that
27   Su’s debarment was the result of something he did in a prior job.
28          Su had a legally protectable interest in these investigatory determinations and a
                                                      8
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 1   reasonable expectation they would not be disclosed. Disclosing the details of these investigatory
 2   determinations to Su’s co-workers constituted a serious invasion of Su’s privacy. Thus, although
 3   these facts were denied by defendant, they were of substantial importance to this case.
 4
        C. The Government Lacked Reasonable Ground to Believe It Might Prevail on
 5         The Non-Admitted Matters.
 6          A third exception to recovery of fees and expenses concerns whether the Government had
 7   a reasonable ground to believe it might prevail on the contested matters.
 8          Here, the Government did not have reasonable ground to believe it might prevail on the
 9   matters that were the subject of the requests for admission. The evidence was clear that the
10   subject statements were in fact made by defendant. See, e.g., Findings of Fact and Conclusions
11   of Law, Docket 266, ¶ 50 (relying on the testimony of several witnesses); see also, e.g.,
12   Marchand v. Mercy Med. Ctr. 22 F.3d 933, 938 (9th Cir. 1994) (not reasonable to deny liability
13   for paralysis caused by removing cervical collar when there was no evidentiary support for
14   contrary proposition); SEC v. Happ, 392 F.3d 12, 33-35 (1st Cir. 2004) (even where testimony
15   and underlying document were somewhat ambiguous, district court did not abuse its discretion in
16   determining that the government should have stipulated to fact requested by defendant earlier in
17   action and awarding sanctions under rule 37(c)(2)).
18          Because the Government had no reasonable ground to believe it might prevail on the
19   contested matters, it should be responsible for expenses pursuant to Rule 37(c)(2).
20      D. There Was No “Other Good Reason” For Defendant’s Failures to Admit.
21          The fourth and final exception to a recovery concerns whether the defendant had “other
22   good reason for the failure to admit.” There was no good reason to deny the requested
23   admissions. The RFAs concerned objective matters not subject to reasonable dispute. Even if
24   the Government at this late hour were to dispute the meanings of the requests at issue, its denials
25   “assume[d] that [the use of particular terms] are factually meaningful.” Apex Oil Co. v. Belcher
26   Co. of N.Y. 855 F.2d 1009, 1019 (2nd Cir. 1988).
27          Furthermore, as previously observed by the Court, if the Government in fact accused
28   plaintiff of taking money from a foreign government and lying about it, the Government’s
                                                    9
     MPA ISO MOTION FOR FEES AND EXPENSES IN PROVING MATTERS THAT SHOULD HAVE BEEN ADMITTED;
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 1   defenses were untenable. When the Government previously argued that plaintiff had no privacy
 2   interest in the subject matter, the Court sharply disagreed, noting:
 3
            The Court is at a loss to understand how [plaintiff] would not have a legally
 4
            protected privacy interest in an investigative determination by United States
 5          agencies that he is a security risk. Cf. United States Dep’t of Justice v. Reporters
            Comm. for Freedom of the Press, 489 U.S. 749, 780 (1989). (“a third party’s
 6
            request for law enforcement records or information about a private citizen can
 7          reasonably be expected to invade that citizen's privacy”). Su’s privacy interest
            appears particularly strong given his Chinese heritage and Dolci’s implication that
 8
            Su took money from a foreign government.
 9
     April 17, 2013, Order Granting In Part And Denying In Part Defendants’ Motion For Summary
10
     Judgment (“MSJ Order”), p. 17.
11
            The Court further rejected the Government’s contention that a statement that someone
12
     took money from a foreign government and lied about it might be within the “bounds of a
13
     normal employment-related communication.” MSJ Order, pp. 18-19.
14
            Because the Government unjustifiably failed to admit matters of substantial importance
15
     to this case, and these matters were later proven at trial, the Government must pay plaintiff’s fees
16
     and expenses.
17
        IV. PLAINTIFF’S FEES AND COSTS.
18
            Rule 37(c)(2) mandates an award of a reasonable fee for a time needed to prove matters
19
     not admitted. Under Hensley v. Eckerhart, 461 U.S. 424 (1983), the starting point for
20
     determining the
21
     amount of a reasonable fee is the number of hours reasonably expended on the litigation
22
     multiplied by a reasonable rate.
23
        A. The Hours Claimed Were Reasonably Expended by Each Timekeeper.
24
            All fees requested in this motion are appropriate because of the scope and complexity of
25
     the litigation and because the requested fees are limited to those necessary to prove the disputed
26
     matters. The Government undertook a robust defense, requiring plaintiff’s counsel to devote
27
     considerable time over several years to meet and confer over discovery, and engage in motion
28
                                                      10
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 1   practice. Serrano v. Unruh (Serrano IV), 32 Cal.3d 621, 634, fn. 18 (1982) (opposing party’s
 2   tactics are probative of whether time was reasonably spent). In light of the complexity of the
 3   issues, the five-year period in which this case was litigated, the extensive motion practice, the
 4   Government’s refusal to compromise, and the trial, the time devoted by plaintiff’s counsel was
 5   reasonably expended to succeed in his lawsuit.
 6          The reasonableness of the fees is also supported by the billing judgment of plaintiff’s
 7   counsel. Litigation counsel are expected to exercise their own “billing judgment” in their fee
 8   claim. Hensley v. Eckerhart, 461 U.S. 424, 431 (1983). While time spent litigating this case
 9   may have been significant, the complexity of the issues and strong defense presented by the
10   Government, were no less significant. Considering the subject matter and time necessarily spent,
11   the request, particularly after counsel’s billing judgment, is fair.
12      B. The Requested Hourly Rates Are Reasonable.
13          The lodestar determination requires the trial court to determine the reasonable hourly rate
14   of each attorney claiming fees. Graham v. DaimlerChrysler Corp., 34 Cal.4th 553, 579 (2004).
15   The reasonable market value of the attorney’s services is the measure of a reasonable hourly rate.
16   Ketchum v. Moses, 24 Cal.4th 1122, 1132 (2001). Current rates may be used, and most
17   California awards are based on current rates. Graham, supra, 34 Cal.4th at 584; Cal. Attorney
18   Fee Awards (Cont.Ed.Bar 3d ed. 2012) § 9.113, p. 543.
19          To determine reasonable market value, courts must determine whether the requested rates
20   are “within the range of reasonable rates charged by and judicially awarded comparable
21   attorneys for comparable work.” Children’s Hospital & Medical Center v. Bontá, 97
22   Cal.App.4th 740, 783 (2002). Courts consider a number of factors in evaluating whether a rate is
23   reasonable, including: the nature of the litigation, the attorneys’ reputation, the difficulty of the
24   case, the skill required in its handling, the skill employed, the attention given, and the success or
25   failure of the action. See, e.g., PLCM Group, Inc. v. Drexler, 22 Cal.4th 1084, 1096 (2000).
26          Courts have considered counsel’s special expertise, background, or skill level as
27   justifying a higher rate than the community average. See, e.g., Russel v. Foglio, 160 Cal.App.4th
28   653, 661 (2008) (noting counsel’s particular trial experience); Utility Reform Network v. PUC,
                                                       11
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 1   166 Cal.App.4th 522, 537 (2008). The attorneys at McManis Faulkner who worked on this case
 2   are distinguished lawyers. The quality of the papers and legal research is also probative of the
 3   reasonableness of fees. Plaintiff’s counsel regularly submitted accurate and thorough legal
 4   briefing to the Court.
 5          Finally, the mean average hourly rate requested is only $475, well within the community
 6   standard. See, e.g., Stuart v. RadioShack Corp., 2010 US Dist. Lexis 92067 *18 (N.D. Cal.
 7   2010)(awarding $708 average rate in wage and hour class action). Because the rates are
 8   reasonable and the billed time was reasonably spent, plaintiff should recover all fees and costs.
 9
                                              CONCLUSION
10
            For the foregoing reasons, plaintiff should be awarded his fees and expenses incurred in
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     proving the matters asserted by plaintiff’s Requests for Admission numbered 8, 9, 10, 16, 17, and
12
     27.
13
                                                           Respectfully submitted,
14
     DATED: October 9, 2014                               McMANIS FAULKNER
15

16
                                                            /s/ Tyler Atkinson
17                                                        TYLER ATKINSON
18                                                        Attorneys for Plaintiff,
                                                          DR. HAIPING SU
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